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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

JAMES O'CALLAGHAN,
                              Plaintiﬀ,
                                                                 ORDER
                – against –
                                                             17 Civ. 2094 (ER)
UBER CORPORATION OF
CALIFORNIA,
                              Defendant.


RAMOS, D.J.:
         On July 5, 2018, this Court granted Uber's motion to compel arbitration and

stayed this case. �e Court has received no information regarding the status of those

proceedings since that time. According, the parties are directed to ﬁle a joint status report

by November 1, 2020. Failure to comply with this Order could result in sanctions up to

and including failure to prosecute. Fed. R. Civ. P. 41(b).


It is SO ORDERED.


Dated:     October 2, 2020
           New York, New York

                                                          EDGARDO RAMOS, U.S.D.J.
